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F.#2016R00505

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 – – – – – – – – – – – – – – – – – –X

 UNITED STATES OF AMERICA                                 STIPULATION AND ORDER

         - against -                                      16 CR 640 (BMC)

 MARK NORDLICHT, et al.,

                           Defendants.

 – – – – – – – – – – – – – – – – – –X

                WHEREAS, the undersigned agree that an efficient resolution of this case

requires the production of emails and other documents that were obtained by the government,

including pursuant to a court-authorized search of the offices of Platinum Partners (the

“Discovery Materials”), to all defendants in this litigation (the “Defendants”), some of which

may contain information protected by the attorney-client privilege or work-product doctrine (the

“Potentially Privileged Materials”), and

                WHEREAS, Rule 502 of the Federal Rules of Evidence provides, in pertinent

part, that:

                The following provisions apply . . . to disclosure of a communication
                or information covered by the attorney-client privilege or work-
                product protection. . . . (d) A federal court may order that the
                privilege or protection is not waived by disclosure connected with
                the litigation pending before the court—in which event the
                disclosure is also not a waiver in any other federal or state
                proceeding.
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               IT IS HEREBY STIPULATED AND AGREED by and between the undersigned

that:

               1.      Firewall Assistant United States Attorneys and their staff (the “Firewall

Team”) will produce the Potentially Privileged Materials to the Defendants.

               2.      Pursuant to Federal Rule of Evidence 502(d), the Court orders that the

Firewall Team’s production of Discovery Materials, including Potentially Privileged Materials,

to the Defendants does not waive any party’s or non-party’s rights under the attorney-client

privilege, work product doctrine, or any other applicable privilege, nor is the production a waiver

of any such privilege or protection in any other federal or state proceeding.

               3.      By agreeing to the terms of this Stipulation and Order, and by producing

the Potentially Privileged Materials pursuant thereto, the government does not concede that any

of the Potentially Privileged Materials is subject to any privilege.

               4.      The Firewall Team will identify to defense counsel, on a rolling basis,

Potentially Privileged Material that the Firewall Team intends to provide to the Assistant United

States Attorneys assigned to the trial in this case (the “Trial Team”), and defense counsel may

advise the Firewall Team and the other defendants (the “Parties”) of any objections.

               5.      In addition, defense counsel may advise the Parties of any documents that

counsel believes are subject to any privilege (collectively with other objected-to Potentially

Privileged Materials, the “Challenged Documents”).




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               6.     The Parties will meet and confer as to the Challenged Documents, if any,

and, if they do not reach agreement, may request a ruling from the Court. The Firewall Team

will not provide Challenged Documents to the Trial Team until an agreement is reached or an

order is entered.

               7.     The Parties agree that by agreeing to the terms of this Stipulation and

Order, and by accepting the Potentially Privileged Materials pursuant thereto, the Defendants do

not waive, and expressly reserve, any and all rights to challenge the government’s June 22, 2016

search and seizure in this case. The government agrees not to argue that the Defendants, by

accepting documents produced pursuant to this Stipulation and Order, have waived those rights.

Dated: Brooklyn, New York
       November 10, 2017

                                                      BRIDGET M. ROHDE
                                                      Acting United States Attorney
                                                      Eastern District of New York


                                             By:             /s/
                                                      Allon Lifshitz
                                                      Andrew C. Gilman
                                                      Assistant U.S. Attorneys



        /s/                                                /s/
 William Burck, Esq.                                Michael S. Sommer, Esq.
 Attorney for Mark Nordlicht                        Attorney for David Levy




        /s/                                                /s/
 Gregory J. O’Connell, Esq.                         Kevin O’Brien, Esq.
 Attorney for Uri Landesman                         Attorney for Joseph SanFilippo




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        /s/                                          /s/
 Jonathan S. Sack, Esq.                      Seth L. Levine, Esq.
 Attorney for Joseph Mann                    Attorney for Daniel Small




        /s/
 F. Andino Reynal, Esq.
 Attorney for Jeffrey Shulse


So Ordered.    11/11/17

Digitally signed by Brian M. Cogan
______________________________________
THE HONORABLE BRIAN M. COGAN
UNITED STATES DISTRICT JUDGE
EASTERN DISTRICT OF NEW YORK




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